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EXHIBIT 8
CRANBROOK KINGSWOOD

Cranbrook Educational Community

UPPER SCHOOL ACADEMIC TRANSCRIPT (TEST RECORD ON REVERSE SIDE)
Last Nome First Nene GPAs are not cumulative

NAME: Dupree, Jr. Michael Joseph SEX: M GRADUATION DATE

SS #: 266-668-5367 DATE OF BIRTH: 08/27/85 WITHORAWAL DATE

PARENT/GUARDIAN: Mr&éMrs Michael Dupree, Sr. JUN 01 2006

ENROLLED: @6/25/0@ ENTERED UPPER SCHOOL: 99 Ba27-33 P= PASS

- . - Cw#t.7-23 WP = WITHDAAW PASSING

DeG7-13 WF = WITHDRAW FALLING

Courses taken at other schools are converted to CK systerns of credits.

ACCREDITATION: Independent Schools Association of Central States An A+ = 4.3 points in the calculation of the GPA. |

DUPREE, JR. MI 09 2000-01 DUPREE, JR. MI 1@ 2001-02
EN-Engiish 9, 3B t:b0 EN-Expos Writng 2 B° 1.32
iN-fpanish I 2 G+ 1:0@ MavBegnish IT 2 1:00
sc-Concept Phys 2 B- 1.00 SC-Biclo I 2 C- 1.08
HS-Ancient Soc 2 C+ 0.50 oe Battoein Civ 2 C+ 1.00
Ro HST a berane 4 ct 8.38 AR-Cont Ceramic 1 B+ @.25
cS-Computer Sei 1 B- @.25 yy]
SP-Sports/Gd 9 2P 152 er

-Cmptr Exempt 2. 0.00 ae ei, WR |
oANMERBIE Kegute ~
UNWEIGHTED GPA: 2.5 nol
WEIGHTED GPA: 2:5 . UNE CETED GPA: 2133
- DUPREE, JR. MI 12 2003-04
DUPREE, JR, MI 11 2007-93 EN-Curfent Lit 1 B- @.5@
MA-Pre-Calculus 2 Ct 1.0@ - EN-Lit & Nature ZR 9.38
sC-Chemistr 7 C+ 1.00 MA-Statistics zC 1.08
HS-Amer Studies 2 ¢ 1.00 SC-Envirnmt Sci 1 B 8.38
RL-Bastrn Trad 2 C+ 6.590 S¢- Botany 2¢ 0.58
AR-Cont Ceramic 1 B+ @.25 HS-Grk Romn Civ 2 Be 0.58
AR-Cont Ceramic 2 B+ @.25 Aag~Psychotos* 2 WP 2-28
BR-Ceram StdioH 1 Bt @.5@
AR-Ceram StdioH 2 WP 0.22
UNWEIGHTED GPA: 2.3
UNYBTGHTED GPR: 2.26 WEIGHTED GER: 2:35
OTHER
SIGNED TITLE DATE _cronongo

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CRANBROOK KINGSWOOD

Cranbrook Educational Community

NAME: Dupree, Jr.

UPPER SCHOOL STANDARDIZED TEST RECORD (Academic TRANSCRIPT ON REVERSE SIDE)
Michael Joseph SEX: M .

SS #: XXX-XX-XXXX DATE OF BIRTH: 08/27/85
PSAT
MICHAEL a.
Lost DUPREE scoree First MICHAEL wi J Lost DUPREE scores First vm
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Tha College Boord susscores:| 15] 14|14| 11] 14 i5]12| 5% 86
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Arye A We en
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SAT tl ADVANCED PLACEMENT
CBco0091
SIGNED TITLE

DATE

